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  6

  7                               UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA
  8
                                                            Case No. 5:19-cv-02198-DSF-SHK
  9
                                                            JOINT RULE 26(f) REPORT
 10    BAHAR SENGEL, et al.,
 11                       Plaintiffs,
 12
              v.
 13
       PORTFOLIO RECOVERY ASSOCIATES,
 14    LLC,

 15                       Defendant.

 16   a.     Statement of the case: Plaintiffs allege that Defendant engaged in harassing, deceptive,
 17
      misleading, and unfair behavior in an attempt to collect on a default consumer debt from them in
 18
      violation of the Fair Debt Collection Practices Act (“FDCPA”) under 15 U.S.C. §1692 et seq. and
 19
      the Rosenthal Fair Debt Collection Practices Act (“RFDCPA”) under Cal. Civ. Code §1788. As
 20

 21   such, Plaintiff are seeking statutory and actual damages from Defendant as well as payment of their

 22   reasonable attorney fees and costs associated with brining this action.

 23          Defendant denies that any of its actions violated the FDCPA and RFDCPA. Plaintiffs
 24   continue to owe Defendant on unpaid financial obligations which were assigned to Defendant.
 25
      b.     Subject Matter Jurisdiction: The Court has subject matter jurisdiction pursuant to 28
 26
      U.S.C. § 1331. The Court has supplemental jurisdiction pursuant to 28 U.S.C. § 1367.
 27
      c.     Legal issues: Whether Defendant’s conduct was harassing, misleading, and deceptive
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                                                        1
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  1   under the FDCPA and RFDCPA?
  2   d.     Parties, Evidence, etc.:
  3
                    Parties: Plaintiffs, Bahar and Cengiz Sengel; Defendant, Portfolio Recovery
  4
                     Associates, LLC
  5
                    Witnesses: The parties; the originator(s) of the unpaid account(s) that Defendant
  6

  7                  was seeking recovery from the Plaintiffs

  8                 Evidence: Plaintiffs’ telephone records and billing statements; expense and records
  9                  of interactions between Plaintiffs and their attorneys; mental and physical health
 10
                     records of Plaintiffs; physical cell phones of Plaintiffs; all data of Plaintiff’s cell
 11
                     phones from date of first use to present; Defendant’s files for each Plaintiff and their
 12
                     account(s); acquisition documents; call recordings; account notes; call logs
 13

 14   e.     Damages: As result of Defendant’s alleged violation(s) of 15 U.S.C. § 1692 et al., Plaintiffs

 15   are seeking any actual damage sustained; statutory damages; and the costs of the action, together

 16   with reasonable attorney’s fees as determined by the Court.
 17
             Defendant will seek its costs and attorney fees should it prevail.
 18
      f.     Insurance: There is no applicable insurance which would cover the Plaintiffs. Defendant
 19
      is not seeking coverage by its insurer.
 20
      g.     Motions: None.
 21

 22   h.     Manual for Complex Litigation: None.

 23   i.     Status of Discovery: None. The parties will exchange initial disclosures under Fed. R. Civ.
 24   P. 26(a)(1) on or before March 16, 2020.
 25
      j.     Discovery Plan:
 26
             (i)     what, if any, changes in the disclosures under Rule 26(a) should be made;
 27
                     None.
 28
                                                         2
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  1          (ii)    the subjects on which discovery may be needed;
  2                  The parties anticipate that discovery may be needed on the following subject(s):
  3
                     Defendant’s records for Plaintiffs’ accounts; Defendant’s policies and procedures;
  4
                     and Plaintiffs’ damages.
  5
             (iii)   whether discovery should be conducted in phases or otherwise be limited;
  6

  7                  The parties do not believe that discovery should be conducted in phases or otherwise

  8                  be limited.

  9          (iv)    whether applicable limitations should be changed or other limitations imposed;
 10
                     None.
 11
             (v)     whether the Court should enter other orders;
 12
                     None.
 13
      k.     Discovery Cut-Off: September 18, 2020.
 14

 15   l.     Expert Discovery: The parties do not believe that expert discovery will be required.

 16   m.     Dispositive Motions: Plaintiffs do not anticipate seeking a dispositive motion at this time.
 17   Defendant intends to bring Motion for Summary Judgment after conclusion of discovery.
 18
      n.     Settlement/Alternative Dispute Resolution (ADR): The parties have engaged in informal
 19
      settlement discussions. The parties select Local Rule 16-15.4 ADR Procedure No. 2, appearance
 20
      before a neutral from the Court Mediation Panel. ADR should occur no later than 90 days before
 21

 22   the Final Pretrial Conference.

 23   o.     Trial Estimate: 1 to 2 days.

 24   p.     Trial Counsel:
 25   FOR PLAINTIFF                                        FOR DEFENDANT
 26   Nicholas M. Wajda                                    Nathan A. Searles
 27
      q.     Independent Expert or Master: None.
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                                                       3
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  1   r.    Timetable: See Exhibit A attached.
  2   s.    Other issues: None.
  3
       DATED this 2nd day of March, 2020          Respectfully submitted,
  4
       FOR PLAINTIFF                              FOR DEFENDANT
  5
       /s/ Nicholas M. Wajda                      /s/ Nathan A. Searles
  6

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